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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :
              v.                            :      Case No. 1:21-cr-382 (PLF)
                                            :
CHRISTOPHER WARNAGIRIS,                     :
                                            :
                         Defendant.         :

    GOVERNMENT’S UNOPPOSED RESPONSE TO DEFENDANT’S MOTION TO
                           CONTINUE

       The United States of America by the undersigned counsel, respectfully submits this

response to Defendant Warnagiris’ motion to continue the December 11, 2024 hearing date (ECF

No. 160). Though the government is prepared to proceed on December 11, 2024, we have no

objection to Defendant Warnagiris’ motion to continue. Working from the list of dates

provided by Defendant Warnagiris, the government’s preferred dates for January 2025 are

January 15, 27, or 29.

                                            Respectfully submitted,

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